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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

ROY SHRODE, AS TRUSTEE OF THE                        §
HILL COUNTRY TRUST, GOLDSTAR                         §
INVESTMENTS, LTD., BEDROCK                           §
FUNDNG MANAGEMENT, LLC,                              §
                                                     §
                Plaintiffs and Counter-              §
                Defendants,                          §
                                                     §
GARY MARTIN,                                         §
                                                     §
                Third-Party Defendant,               §
                                                     §
v.                                                   §                   1:19-CV-657-RP
                                                     §
STEPHEN BLAIR SILVERBERG,                            §
                                                     §
                Defendant,                           §
                                                     §
FCI CAPITAL LLC,                                     §
                                                     §
                Intervenor,                          §
                                                     §
CAPITAL TECHNOLOGY SOLUTIONS,                        §
INC.,                                                §
                                                     §
                Third-Party Defendant.               §

                                          FINAL JUDGMENT

        On November 18, 2019, the parties dismissed all claims in this case by joint stipulation of

dismissal pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). (Dkt. 77). “Stipulated dismissals

under Rule 41(a)(1)(A)(ii) . . . require no judicial action or approval and are effective automatically

upon filing.” Yesh Music v. Lakewood Church, 727 F.3d 356, 362 (5th Cir. 2013). As nothing remains to

resolve, the Court renders final judgment pursuant to Federal Rule of Civil Procedure 58.

        IT IS ORDERED that the case is CLOSED.

        All pending motions in this case are DISMISSED AS MOOT.



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IT IS ORDERED that each party bear its own costs.

SIGNED on November 21, 2019.




                                 ROBERT PITMAN
                                 UNITED STATES DISTRICT JUDGE




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